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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF OKLAHOMA
                           OKLAHOMA CITY DIVISION


FEDERAL TRADE COMMISSION,
       Plaintiff,
                                                  Civil Action No. CIV-14-786
      v.                                          Judge Timothy D. DeGiusti
YOUR YELLOW BOOK INC, a
corporation, also d/b/a/ YOUR
YELLOW BOOK,
BRANDIE MICHELLE LAW,                             PLANTIFF FEDERAL TRADE
individually and as an officer or director        COMMISSION’S EXHIBIT LIST
of YOUR YELLOW BOOK INC,                          FOR THE PRELIMINARY
                                                  INJUNCTION HEARING
DUSTIN R. LAW, individually and as an
officer or director of YOUR YELLOW
BOOK INC, and
ROBERT RAY LAW, individually and
as an officer or director of YOUR
YELLOW BOOK INC,
        Defendants.



       The following is a list of exhibits that Plaintiff, Federal Trade Commission

(“FTC”), MAY OFFER at the Preliminary Injunction Hearing, together with a

description of the document, the date it was filed, and an identification of its page range

(where applicable).

       On July 25, 2014, following an on-the-record hearing, the Court issued its Ex

Parte Temporary Restraining Order with Asset Freeze and Other Equitable Relief; Notice

of Preliminary Injunction Hearing (DKT #10)(“TRO”) in this matter. The TRO set a

show cause hearing for August 4, 2014 and provided that the Court “will consider . . .

declarations or affidavits that have been served and filed in a timely manner prior to the


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preliminary injunction hearing without further need of any party moving the documents

into evidence.” TRO, Section XIX.

      The following list of exhibits is provided as a courtesy. These exhibits were filed

in support of the FTC’s motion for a temporary restraining order or in accordance with

Section XVIII of the TRO, and therefore are pre-admitted under the terms of Section XIX

of the TRO.

                            YOUR YELLOW BOOK INC

 Plaintiff’s                  Description                   Date Filed          Page
 Exhibit #                                                                      Range

      1        Declaration of Brent McPeek                   July 24, 2014       1-15

      2        Oklahoma Secretary of State –                 July 24, 2014        16
               Corporation Filing
      3        1304 W. Cleveland, Logan County Tax           July 24, 2014       17-20
               Assessor Records
      4        1012-1014 Straka Terrace – Oklahoma           July 24, 2014       21-22
               County Tax Assessor
      5        Consumer Sentinel Network Complaint           July 24, 2014        23
               Category Details, CY 2011 through 2013
      6        Postal Cease and Desist Orders                July 24, 2014       24-77

      7        P.O. Box Records                              July 24, 2014       78-80

      8        http://youryellowbook.com internet            July 24, 2014      81-135
               results and related documents
      9        JPMorgan Chase Business Account               July 24, 2014     136-165
               Records
      10       Cox Communications Inc. Records               July 24, 2014     166-168

      11       Vonage Account Documents                      July 24, 2014     169-176

      12       Go Daddy Documents                            July 24, 2014     177-184

      13       Declaration of Parrish White                  July 24, 2014     185-189



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                           YOUR YELLOW BOOK INC

 Plaintiff’s                 Description                      Date Filed       Page
 Exhibit #                                                                     Range

      14       BBB Records                                     July 24, 2014   190-133

      15       Declaration of Diane Welsh                      July 24, 2014   234-236

      16       Declaration of Libbey Eastteam                  July 24, 2014   237-238

      17       Declaration of Royce Eddington                  July 24, 2014   239-241

      18       Declaration of Melissa Falin                    July 24, 2014   242-248

      19       Declaration of Julie Gebert                     July 24, 2014   249-252

      20       Declaration of Julia Gee                        July 24, 2014   253-256

      21       Declaration of Erika Kimm                       July 24, 2014   257-260

      22       Declaration of Bill Lambacher                   July 24, 2014   261-264

      23       Declaration of Dale O’Groske                    July 24, 2014   265-268

      24       Declaration of James Rider                      July 24, 2014   269-270

      25       Declaration of Lori Rischmiller                 July 24, 2014   271-272

      26       Declaration of Steven Rojo                      July 24, 2014   273-279

      27       Declaration of Penny Stebar                     July 24, 2014   280-283

      28       Second Declaration of Brent McPeek              July 30, 2014    NA

      29       Declaration of Alisa Knapp                      July 30, 2014    NA



Dated: July 30, 2014                      Respectfully submitted,


                                                  s/ Thomas B. Carter
                                          REID TEPFER
                                          Texas Bar No. 24079444
                                          THOMAS B. CARTER
                                          Texas Bar No. 03932300



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                          Federal Trade Commission
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                          Attorneys for Plaintiff
                          FEDERAL TRADE COMMISSION




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                             CERTIFICATE OF SERVICE

        I certify that Plaintiff Federal Trade Commission filed the foregoing with the
Clerk of Court using the ECF system, and further certify that Plaintiff will promptly serve
a true and correct copy of the foregoing on Defendants by overnight delivery service and
email (where known) at the following addresses:

YOUR YELLOW BOOK, INC
info@youryellowbook.com
ProRDBInc@yahoo.com
webmaster@youryellowbook.com
and
1009 NE 6th Street
Moore, Oklahoma 73160

BRANDIE MICHELLE LAW,
individually and as an officer or director of
Your Yellow Book, Inc
312 W. Creek Ave., Apt. 1
Sallisaw, OK 74955

DUSTIN R. LAW, individually
and as an officer or director of
Your Yellow Book, Inc
1009 NE 6th Street
Moore, Oklahoma 73160

ROBERT RAY LAW, individually
and as an officer or director of
Your Yellow Book, Inc
1009 NE 6th Street
Moore, Oklahoma 73160



Dated: July 30, 2014                                   s/ Thomas B. Carter
                                                    Thomas B. Carter




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